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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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        LEO’S WELDING AND FABRICATION                        IN ADMIRALTY
11      LLC,
                                                             CASE NO. 2:25-cv-00625-LK
12                             Plaintiff,
                v.
13                                                           IN REM ARREST WARRANT
        P/V HANNAH et al.,
14
                               Defendants.
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     TO: THE UNITED STATES MARSHAL FOR THE WESTERN DISTRICT OF
17   WASHINGTON

18          WHEREAS, a Complaint in admiralty was filed herein praying that process be issued for

19   the arrest of the defendant vessel, the P/V HANNAH, Official Number 1067457, her machinery,

20   engines, equipment, cargo, and appurtenances (the “Vessel”), which is located at the Fairhaven

21   Shipyard, 201 Harris Avenue, Bellingham, Washington.

22          NOW THEREFORE you are commanded to arrest and seize said Vessel and to detain the

23   same in your custody until further order of the Court respecting the same. Following the arrest and

24   seizure of the Vessel, you or Plaintiff are also commanded to give due notice to all persons and



     IN REM ARREST WARRANT - 1
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 1   entities having an interest in the property under seizure by publication in a newspaper of general

 2   circulation in the judicial district where the defendant Vessel is seized.

 3          In carrying out the arrest, the U.S. Marshal is authorized and directed to take any and all

 4   necessary actions, including but not limited to the use of reasonable force, to enter and remain on

 5   the premises, which includes, but is not limited to, the land, the buildings, vehicles and any

 6   structures located thereon, for the purpose of executing this Warrant. The U.S. Marshal is further

 7   authorized and directed to arrest and/ or evict from the premises any and all persons who obstruct,

 8   attempt to obstruct, or interfere or attempt to interfere, in any way with the execution of this

 9   Warrant.

10          DONE on this 30th day of April, 2025.

11                                                          BY: RAVI SUBRAMANIAN
                                                            Clerk of the Court
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     IN REM ARREST WARRANTIN REM ARREST WARRANT - 2
